Case 3:18-cv-02442-AET-TJB Document 6-1 Filed 03/06/18 Page 1 of 2 PageID: 447




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


    901 ERNSTON ROAD LLC,                         Civil Action No.: 3:18-cv-02442-AET-TJB

                            Plaintiff,

                  v.                                ORDER TO SHOW CAUSE WHY THE
                                                      COURT SHOULD NOT ISSUE A
    BOROUGH OF SAYREVILLE ZONING                       PRELIMINARY INJUNCTION
    BOARD OF ADJUSTMENT; and                            DIRECTING ISSUANCE OF
    BOROUGH OF SAYREVILLE,                                NECESSARY ZONING
                                                      APPROVALS AND ENJOINING
                           Defendants.                DISCRIMINATORY CONDUCT


          THIS MATTER having come before the Court on the application (the “Application”) of

Plaintiff, 901 Ernston Road LLC (“Plaintiff”), through its attorneys, Marino, Tortorella & Boyle,

P.C. (Kevin H. Marino, Esq., appearing) and Kaufman, Coren & Ress, P.C. (Steven M. Coren,

Esq., appearing), for entry of an Order, pursuant to Federal Rule of Civil Procedure 65(a) and

Local Civil Rule 65.1, requiring Defendants, Borough of Sayreville Zoning Board of Adjustment

and Borough of Sayreville (collectively, “Defendants”), to show cause why the Court should not

grant a preliminary injunction (a) directing Defendants to issue all zoning approvals necessary for

the construction and operation of a proposed residential drug and alcohol treatment facility (the



*
    Pro hac vice applications to be submitted.
Case 3:18-cv-02442-AET-TJB Document 6-1 Filed 03/06/18 Page 2 of 2 PageID: 448




“Facility”) at 901 Ernston Road, Borough of Sayreville, County of Middlesex, State of New Jersey

(Block 438, lot 1, Block 452, lot 1, as shown on the current tax map of the Borough of Sayreville)

(the “Property”); and (b) enjoining Defendants from persisting in discriminatory conduct designed

to thwart the construction and operation of the Facility at the Property; and the Court having

considered all submissions of the parties and argument of counsel; and good cause having been

shown;

         IT IS on this _____ day of ___________________, 2018, ORDERED that Plaintiff’s

Application for an Order to Show Cause is GRANTED in full; and

         IT IS FURTHER ORDERED that on the ____ day of __________, 2018 at ______,

Defendants shall appear and show cause before the Honorable Anne E. Thompson, U.S.D.J.,

United States District Court for the District of New Jersey, Clarkson S. Fisher Federal Building &

U.S. Courthouse, Courtroom 4W, 402 East State Street, Trenton, NJ 08608, why the Court should

not enter a preliminary injunction order:

            (a) directing Defendants to issue all zoning approvals necessary for the construction

               and operation of the Facility at the Property; and

            (b) enjoining Defendants from persisting in discriminatory conduct designed to thwart

               the construction and operation of the Facility at the Property; and

         IT IS FURTHER ORDERED that Defendants shall file and serve any written response

to this Order to Show Cause by the ____ day of ________, 2018; and

         IT IS FURTHER ORDERED that Plaintiffs shall file and serve any written reply to

Defendants’ opposition to this Order to Show Cause by the ____ day of ________, 2018.



                                             _________________________________________
                                             HONORABLE ANNE E. THOMPSON, U.S.D.J.



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